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                   UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                               Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .

                  MOTION FOR LODGING AND TRAVEL EXPENSES

       I respectfully move for the Court to order the government to cover all expenses for travel,

lodging and food during all mandatory Court appearances in the District of Columbia. Previously

the Court found me financially qualified for appointed counsel, although I have now chosen to

represent myself. Since then, my financial situation has deteriorated due to the government’s

persistent lawfare against me, so the cost of travel to Washington would be a financial hardship.

       Currently I live in Kansas. Any travel to Washington would require me to make either a

long drive or to fly. Since my vehicle may not survive a trip that far, I would likely opt to fly.

Hotels in Washington are also expensive and beyond my means.

       While images from Google Streetview show tents in front of the federal courthouse and

suggest that camping there is allowed, I would prefer not to camp during my trial since late July

in D.C. is hot and humid, and since D.C. U.S. Attorney Matt Attorney is allowing violent crime

to run rampant on the streets of Washington.

       I would be far safer and more presentable in Court if a hotel were provided.
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Figure 1: While the campsite in front of the federal court looks welcoming, the jury may not appreciate smelling me.

         Since the government is forcing me to make this travel and stay in D.C., they should

incur all costs. I therefore move that travel and lodging expenses be covered by the government

for my trial, pretrial conference, and any other mandatory appearances.

         Respectfully submitted to the Court,

                                                                     By: William Pope

                                                                          /s/
                                                                     William Pope
                                                                     Pro Se Officer of the Court
                                                                     Topeka, Kansas




                                          Certificate of Service
      I certify a copy of this was filed electronically for all parties of record on May 13, 2024.
                                                    /s/
                                    William Alexander Pope, Pro Se
